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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                JACKSONVILLE DIVISION


   DALE CICERO and
   SHERRY PYLE,                              CASE NO:    3:15-cv-76-HES-PDB

         Plaintiffs,

   vs.

   LIBERTY MUTUAL
   INSURANCE COMPANY,

         Defendant.

   _____________________________/

         MOTION TO DISMISS COUNT ONE, OR FOR SUMMARY JUDGMENT

         Defendant, Liberty Mutual Insurance Company, moves to dismiss count one,

   or, for summary judgment on that count.

         The amended complaint has two counts.          Count one is for contractual

   underinsured motorist coverage benefits.     Count two is for bad faith under the

   Pennsylvania bad faith statute. This Court has abated count two pending resolution

   of count one. (DE 12.)

         Liberty Mutual has paid Plaintiffs each $100,000.      That is the maximum

   potentially due under the insurance policy. Thus, count one is moot.
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   I.      Facts1

           This lawsuit arises out of a motor vehicle accident. (DE 9 at ¶4.) At the time

   of the accident, Plaintiffs had an insurance policy that provided underinsured

   motorist benefits in the amount of $100,000 per person. (DE 9 at ¶7; certified copy

   of policy attached as Exhibit “A.”)2                  The insurance policy was issued in

   Pennsylvania, and Pennsylvania substantive law applies. (DE 8 at 7-9.)

           Before Plaintiffs had sued, Plaintiffs each were paid $67,000 in underinsured

   motorist benefits. (DE. 9 at ¶15.) Since then, Plaintiffs each have been paid an

   additional $33,000. (Aff. Stephania DeRosa.) Thus, in total, each Plaintiff has been

   paid $100,000 in underinsured motorist benefits. That is the maximum potentially

   recoverable under the insurance policy.

   II.     Mootness

           “Article III of the Constitution extends the jurisdiction of federal courts to only

   ‘Cases’ and ‘Controversies.’” Strickland v. Alexander, 772 F.3d 876, 882 (11th Cir.

   2014). “The case-or-controversy restriction imposes what are generally referred to

   as ‘justiciability’ limitations.”     Id.    “Justiciability doctrine is composed of ‘three

   strands’: standing, ripeness, and mootness.” Id. “The failure of any one of these

   strands can deprive a federal court of jurisdiction.” Id. “The Supreme Court has


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     “On a motion to dismiss for lack of subject matter jurisdiction pursuant to Rule 12(b)(1)…’a court is
   free to consider matters beyond the four corners of the complaint.’” Wilcox v. Taco Bell of Am., Inc.,
   8:10-CV-2383-T-33MAP, 2011 WL 3566687, *3 (M.D. Fla. 2011).
   2
     Liberty Mutual maintains that Plaintiff Cicero applied for insurance with LM General Insurance
   Company, and that LM General Insurance Company issued the insurance policy. See Application
   attached as Exhibit “B.” But, for purposes of this motion, it is immaterial which entity issued the
   insurance policy.



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   long recognized that this limitation means that the federal courts cannot exercise

   jurisdiction over cases where the parties lack standing, or where the issue in

   controversy has become moot.” Fla. Wildlife Fed., Inc. v. S. Fla. Water Mgmt. Dist.,

   647 F.3d 1296, 1302 (11th Cir. 2011).

          For a plaintiff to have constitutional standing to bring suit

                 a plaintiff must show (1) it has suffered an “injury in fact”
                 that is (a) concrete and particularized and (b) actual or
                 imminent, not conjectural or hypothetical; (2) the injury is
                 fairly traceable to the challenged action of the defendant;
                 and (3) it is likely, as opposed to merely speculative, that
                 the injury will be redressed by a favorable decision.

   Id. “If at any point in the litigation the plaintiff ceases to meet all three requirements

   for constitutional standing, the case no longer presents a live case or controversy,

   and the federal court must dismiss the case for lack of subject matter jurisdiction.”

   Id. “Indeed, because mootness is jurisdictional, dismissal is mandated.” Fla. Public

   Interest Research Group Citizen Lobby, Inc. v. E.P.A., 386 F.3d 1070, 1086 (11th

   Cir. 2004). This is true even if a live controversy existed when the lawsuit was filed.

   Redfern v. Napolitano, 727 F.3d 77, 83 (1st Cir. 2013). A court lacks subject matter

   jurisdiction over part of a controversy, such as an individual count, when that part or

   count becomes moot. Randall D. Wolcott, M.D., P.A. v. Sebelius, 635 F.3d 757,

   773-74 (5th Cir. 2011). And, when a dispute is no longer embedded in an actual

   controversy, the case is moot, even if the parties continue to dispute the lawfulness

   or correctness of the conduct that precipitated the lawsuit. Already, LLC v. Nike,

   Inc., 133 S. Ct. 721, 727 (2013).




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   III.   Count one is moot

          “Under a UM policy, ‘the insured…may recover only up to the policy's

   specified coverage limits.’” Marlette v. State Farm Mut. Auto. Ins. Co., 57 A.3d

   1224, 1230 (Pa. 2012) (citing Jones v. Nationwide Prop. & Cas. Ins. Co., 32 A.3d

   1261, 1263 (Pa. 2011)). Thus, under Pennsylvania law, “[a]n action for breach of an

   insurance contract does not lie when the policy proceeds have been paid’ because

   in such cases, an insured cannot establish damages under the contract.’” Stanford

   v. Nat’l Grange Ins. Co., 64 F.Supp.3d 649, 658 (E.D. Pa. 2014); see also Oehlmann

   v. Metropolitan Life Ins. Co., 644 F.Supp.2d 521, 533 (M.D. Pa. 2007) (“An action for

   breach of an insurance contract does not lie when the policy proceeds have been

   paid.”).

          Here, in count one, the maximum relief Plaintiffs could have obtained is the

   policy limits of $100,000 per person. These policy limits have been paid. Thus,

   count one is moot. See Safeco Ins. Co. of Ill. v. Fridman, 117 So. 3d 16 (Fla. 5th

   DCA 2013), rev. granted, 145 So. 3d 823 (Fla. 2014); see also Weiss v. Regal

   Collections, 385 F.3d 337, 342 (3d Cir. 2004) (“under traditional mootness principles,

   an offer for the entirety of a plaintiff's claim will generally moot the claim”); Doyle v.

   Midland Management, Inc., 722 F.3d 78, 81 (2d Cir. 2013) (offer to settle for full

   amount of damages constituted sufficient grounds to dismiss for mootness); Holsten

   v. City of Chicago, 29 F.3d 1145, 1147 (7th Cir. 1994) (same); Gathagan v. Rag

   Shop/Hollywood, Inc., No. 04–80520–CIV, 2005 WL 6504414, *2 (S.D. Fla. 2005)




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   (“Defendant's tender of Plaintiff's maximum recoverable damages has rendered her

   case moot, and the motion to dismiss with prejudice is granted.”).

   IV.   Conclusion

         Plaintiffs have been paid the policy limits. That is the full amount of monetary

   relief available in count one. Thus, Plaintiffs no longer have a viable breach of

   contract claim.   Stanford, 2014 WL 5527744, at *7.        And count one is moot.

   Accordingly, count one should be dismissed. Alternatively, Liberty Mutual should be

   granted summary judgment on that count.

         Upon disposal of count one, Liberty Mutual anticipates the Court will lift the

   abatement of count two.     The only issue then remaining in this case would be

   whether Plaintiffs are entitled to damages under 42 Pa. C.S.A. § 8371.

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                               CERTIFICATE OF SERVICE

          I certify that on July 9, 2015, I presented the foregoing to the Clerk of Court

   for filing and uploading to the CM/ECF system, which will send a Notice of Electronic

   Filing to the following:

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